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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF NEW YORK


   FEDERAL DEFENDERS OF NEW YORK, INC.,
   on behalf of itself and its clients detained at the
   Metropolitan Detention Center – Brooklyn,

                                 Plaintiff,
                      v.                                           No. 19-cv-660 (MKB)

   FEDERAL BUREAU OF PRISONS and
   WARDEN HERMAN QUAY, in his official
   capacity,

                                 Defendants.




                      ORDER REGARDING THE APPOINTMENT
                 OF THE HONORABLE LORETTA LYNCH AS MEDIATOR

         WHEREAS, on March 20, 2020, the Court of Appeals for the Second Circuit vacated the

  order of dismissal that had been entered in this action and issued its mandate;

         WHEREAS, the Court of Appeals urged in the “strongest possible terms” that this Court

  immediately consider “convening the parties to obtain their advice as to the appointment of an

  individual with the stature, experience, and knowledge necessary to mediate this weighty dispute

  and ultimately facilitate the adoption of procedures for dealing with ongoing and future

  emergencies, including the COVID-19 outbreak”;

         WHEREAS, the Court of Appeals further stated that such person should “diligently and

  speedily work to ensure that those incarcerated at the MDC and those who represent them have

  access to each other, and that the BOP — while maintaining its ability and authority to manage the

  facility in a safe way — takes every reasonable step to preserve the statutory and constitutional

  rights of the inmates and their counsel”;
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          WHEREAS, the Court solicited the parties’ views regarding the possible appointment of

  former Attorney General Loretta Lynch to serve in the role of a mediator as articulated by the

  Court of Appeals;

          WHEREAS, at a telephone conference on March 23, 2020, the parties expressly consented

  to mediation and did not object to the appointment of the Honorable Loretta Lynch to serve in that

  role;

          WHEREAS, at the March 23 conference, the Court appointed the Honorable Loretta Lynch

  to serve as mediator to facilitate the expeditious adoption of procedures for dealing with ongoing

  and future emergences, including the COVID-19 outbreak, and to ensure that the Bureau of Prisons

  takes all reasonable steps to preserve the statutory and constitutional rights of the inmates at the

  MDC and their counsel, while maintaining the Bureau of Prisons’ ability and authority to manage

  the facilities in a safe way;

          IT IS HEREBY ORDERED that, in order to fulfill the role as mediator for which the Court

  has appointed her, the Honorable Loretta Lynch, directly or through any personal designee, may:

      •   Communicate with the parties on an ex parte basis;

      •   Demand non-privileged information from the parties in the form of documents or answers
          to questions within specified time periods, on the understanding that the Court may order
          the production of information should a party resist any such demand;

      •   Communicate with members of the Judiciary, court staff, experts, and other individuals,
          without the involvement or presence of the parties;

      •   Communicate with Federal Defenders officials, Bureau of Prisons officials, and inmates
          on notice to counsel for the parties;

      •   Make a weekly status report to the Court;

      •   Make recommendations regarding the mediation to the Court;

      •   If the mediator deems it necessary, make an initial inspection of the MDC shortly after the
          date of this order and, at any point, on notice to the parties, request additional court orders
          permitting access to the MDC following that initial inspection; and


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     •   Exercise any such additional powers that the Court may grant as necessary to fulfil her
         designated role as mediator.

     IT IS FURTHER ORDERED that the information gathered by the Honorable Loretta Lynch

  cannot be used outside the context of this mediation process.

     In addition, although not a party to the litigation, MCC is participating in the mediation

  consensually and has agreed to the terms above on a voluntarily basis, and not as a court order.


  Dated: Brooklyn, New York                                 SO ORDERED:
         March 24, 2020                                     s/ MKB
                                                            ______________________
                                                            MARGO K. BRODIE
                                                            United States District Judge




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